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IN THE UNITED STATES DISTRJCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

Master File NO. 04-MD-1551

 

In re RECIPROCAL OF AMERICA (ROA)
SALES PRACTICES LITIGATION The Honorab]e J. Daniel Breen
This Docurnent Relates to:
All Actions
. . ;'é<'):n
Consolza'ated and Coora’mared Cases.' gj,_::[§§ §
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Coordinated Receiver Actions:

 
 

 

Gross v. General Reinsumnce Corp., et al., No. 04-CV-2313 ` _ _
Flowers v. General Rez`nsurance Corp., et al., NO. 04»CV-2078 nwf :_`_.` ,
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Consolidated Policvholder Actions:
Tommy L. Fullen v. General Reinsumnce Corp., et al., No. 03-CV-2195

Crens}?aw Commum`ry Hospifal v. General Rez`nsurance Corp., et al., No. 03-CV-2696
Davz'a’ Herrz`ck v. General Rez'nsurance Corp., et al., No. 03-CV-2705
Chrisfie lenic, P.C. v. General Refnsurance Corp., et al., No. 03*CV-2859
Schumacher Group, Inc. v. General Reinsumnce Corp., et al., No. 04-CV-2420
Michael A. Jaynes, P.C. v. Genemf Reinsumnce Corp., et al., No. 04-CV-2479
Galeway Regz`onal Health Sys., Inc. v. General Reinsurance Corp., et al., NO. 04-CV-314

 

Coordinated Policvholder Actions:
Missouri Hospital Plan v. General Rez'nsurance Corp., et al., No. 04-CV-2294

ORDER APPROVING MOTION FOR PRO HAC VICE OF DOUGLAS W. DAVIS
ON BEHALF OF DEFENDANTS GENERAL REINSURANCE CORPORATION,

GENERALCOLOGNE RE]NSURANCE, P.L.C., AND BERKSH[RE HATHAWAY INC.

Upon motion of the defendants, General Reinsurance Corporation, GeneralCologne

Reinsurance, P.L.C. and Berkshire Hathaway Inc., for admission pro hac vice of its Virginia attorney

to appear on its behalf in this Court;

This document entered on the docket(;heeti|nocomg§a 6
with Rule 58 and/or 79{a) FRGP on ' 5

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IT IS, THEREFORE, ORDERED, AD]UDGED and DECREED that Douglas W. Davis of
the law finn of Hunton & Williams LLP, Riveri"ront Plaza, East Tower, 951 East Byrd Street,
Riohmond, VA, 23219-4074, is admitted pro hac vice to practice and appear in this Court as counsel

for the defendants listed above in this action.

 

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Date: 4\~`(-?',10¢5)/
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This notice confirms a copy ofthc document docketed as number 157 in
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Honorable J. Breen
US DISTRICT COURT

